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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA



UNITED STATES OF AMERICA,                            )
                                                     )    2:03-cr-00350-LRH-LRL
                         Plaintiff,                  )
                                                     )    MINUTE ORDER
vs.                                                  )
                                                     )    July 23, 2009
BOOKER WASHINGTON,                                   )
                                                     )
                         Defendant.                  )
                                                     )

PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK: ROSEMARIE MILLER                       REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                       NONE APPEARING
COUNSEL FOR DEFENDANT(S):                       NONE APPEARING
MINUTE ORDER IN CHAMBERS:
        Before the court is Defendant’s Motion to Dismiss Request for Nunc Pro Tunc for
Amended Judgment (#14331) regarding issues relating to his concurrent sentences and/or
receiving back time credit. Good cause appearing, Defendant’s motion (#1433) is granted
without prejudice in order to allow Defendant to file a motion addressing issues regarding his
sentencing.

                                               LANCE S. WILSON, CLERK

                                               By:         /s/
                                                         Deputy Clerk




        1
            Refers to court’s docket number.
